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                                IN THE UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF SOUTH CAROLINA


    In Re:
                                                                                          Case Number 16-02579
    William Edward Hall, Jr.                                                                    Chapter 13
    Lori Raynay Davis

                                                                       CERTIFICATE OF SERVICE AND NOTICE OF
                                              Debtor(s)                         SUPPLEMENTAL FEES

    330 Broken Hill Road
    Columbia, SC 29212

    Last four digits of SSN or ITIN,
    xxx-xx-9549




Take notice that the undersigned has filed a Statement of Supplemental Fees pursuant to SC LBR 2016-1(b)(2) as
follows:

Supplemental fees in this Request: $500
Statement of Work: Credit Approval 5/11/21

These fees are added to any prior amounts charged. Unless an objection to the Statement is filed within fourteen (14)
days of service or unless the Court orders otherwise, the supplemental fee shall be approved for disbursement
subject to the terms of the confirmed plan and SC LBR 2016-1.

All supplemental fees approved for disbursement remain subject to the Court’s consideration of the fee under 11
U.S.C. § 329(b) at any time prior to the closing of the case.

MAILING ADDRESS FOR OBJECTIONS: Bankruptcy Courthouse, 1100 Laurel Street, Columbia, SC 29201.

I hereby certify that notice of the Statement of Supplemental Fees was served on the chapter 13 trustee by electronic
transmission (NEF) and a copy of this document was served on debtor(s) on this date as follows:

William Edward Hall, Jr.
LoriRaynay Davis330 Broken Hill Road
Columbia, SC 29212


    June 10, 2021                             Reed Law Firm. P.A.

                                              /s/ Eric S. Reed,
                                              Eric S. Reed
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